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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:17-CR-00264-LJO-SKO
12                                Plaintiff,            STIPULATION AND ORDER TO VACATE
                                                        STATUS CONFERENCE
13                          v.
                                                        DATE: January 16, 2018
14   JHOANA MARIEL GARCIA GARCIA,                       TIME: 1:00 pm.
                                                        COURT: Hon. SHEILA K. OBERTO
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for status conference on January 16, 2018.

21          2.     On December 18, 2017, the Court held a First Schedule Conference before Chief Judge

22 Lawrence J. O’Neill in this case, together with related cases. (ECF #82). The Court thereafter issued a

23 Scheduling Order setting a trial date of September 17, 2019 for this case, together with additional

24 relevant dates and deadlines in this case. The District Court also made a finding that the case was

25 Complex, pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii), and ordered time is to be excluded under the

26 Speedy Trial Act through and including September 17, 2019. (ECF #83).
27          3.     In light of the Court’s issuance of the Scheduling Order on December 19, 2017, the

28 parties agree and stipulate, and request that the Court vacate the January 16, 2018 status conference

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 1 presently set before Magistrate Judge Oberto.

 2          IT IS SO STIPULATED.

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 4
     Dated: January 12, 2018                             MCGREGOR W. SCOTT
 5                                                       United States Attorney
 6
                                                         /s/ JEFFREY A. SPIVAK
 7                                                       JEFFREY A. SPIVAK
                                                         Assistant United States Attorney
 8

 9
     Dated: January 12, 2018                             /s/ ANNETTE SMURR
10                                                       ANNETTE SMURR
11                                                       Counsel for Defendant
                                                         JHOANA MARIEL GARCIA
12                                                       GARCIA
                                                         (Approved by telephone on
13                                                       January 12, 2018)
14

15

16                                                 ORDER

17
     IT IS SO ORDERED.
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19 Dated:     January 12, 2018                                 /s/   Sheila K. Oberto       .
                                                   UNITED STATES MAGISTRATE JUDGE
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